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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    YELLOW CORPORATION, et al.,                           Case No. 23-11069 (CTG)

                           Debtors.1                      (Jointly Administered)


    NOTICE OF PERFECTION, MAINTENANCE, AND CONTINUATION OF LIENS OF
         MID-AMERICAN CONSTRUCTORS, LLC UNDER 11 U.S.C. § 546(b)

             Mid-American Constructors, LLC (“MAC”), a creditor and party-in-interest in the chapter

11 bankruptcy cases (the “Bankruptcy Cases”) of the above-captioned debtors and debtors-in-

possession (the “Debtors”), files this Notice of Perfection, Maintenance, and Continuation of Liens

Under 11 U.S.C. §546(b) (the “Notice”) and respectfully represents the following:

             1.     On August 6 and 7, 2023 (the “Petition Date”), Yellow Corporation and its

affiliated debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

Debtors continue to operate their business and manage their properties as debtors and debtors-in-

possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

             2.     Prior to the Petition Date, MAC provided services, material, and/or equipment

pursuant to a contract between MAC and debtor, YRC Inc. (“YRC”) in connection with the

development and the construction of certain improvements to a tract of land in Fayette County,

Kentucky (the “Land”). Debtor, YRC, is the owner of record of the Land and is the owner of

certain improvements on the Land (collectively the “Property”).

             3.     MAC is owed $384,360.00 for its work relating to the Property.


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  A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park, KS
66211.
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       4.      As a result of its work, MAC recorded and served a contractor’s lien (the

“Contractor’s Lien”) in the Real Property Records of Fayette County, Kentucky, thereby

perfecting a lien (the “Lien”) against the Property. A true and accurate copy of the Contractor’s

Lien is attached hereto as Exhibit 1.

       5.      MAC hereby files this Notice of perfection and continuation of the Lien pursuant

to Bankruptcy Code section 546(b). MAC files this Notice to apprise the Debtor and all other

parties claiming an interest in the Property (including in all removables, improvements, proceeds,

cash collateral, replacements, accessions, products, rents, and profits of the Property) of MAC’s

intent to continue, maintain, and/or enforce its Lien, rights, and interests and to comply with any

and all present and/or future notice, perfection, maintenance, and enforcement requirements under

the Bankruptcy Code, the Kentucky statutes, and the Kentucky constitution, and all other

applicable non-bankruptcy law. Furthermore, MAC files this Notice to ensure that the perfected

status of its Lien will be maintained and continued while these Bankruptcy Cases remain pending

and the automatic stay under Bankruptcy Code 362 remains in place.

                                        Reservation of Rights

       6.      The filing of this Notice shall not be construed as an admission that such filing is

required under the Bankruptcy Code, the Kentucky statutes, the Kentucky constitution, or any

other applicable law. Further, MAC reserves all its rights, interests, lien, and claims with respect

to: (i) the work performed and the materials furnished by it, (ii) any and all agreements between

MAC and the Debtor, (iii) the Property, (iv) the Lien, and (v) applicable law. Nothing in this

Notice should be construed or deemed to waive any such rights, interests, lien, and claims,

including, but not limited to, seeking relief from the stay.




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Date: October 25, 2023             /s/ Karen M. Grivner
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